              Case 18-15891-LMI       Doc 68     Filed 08/07/18    Page 1 of 2

                      UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

IN RE:                                           CASE NO.: 18-15891-LMI

MAURICE SYMONETTE                                CHAPTER: 7


      Debtor
________________________/

                            NOTICE OF NON-COMPLIANCE

       COMES NOW, HSBC Bank USA, National Association as Trustee for Nomura
Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 (“Creditor”) files this
Notice of Non-Compliance and states as following:
       1. On July 10, 2018, Creditor mailed a Request for Production of Documents to the
          Debtor. See Notice of Filing Service of Discovery Requests [DE #41]
       2. Per the Amended Order Specially Setting Evidentiary Hearing entered on June 28,
          2018, [DE #34] all Discovery was to be completed no later than July 27, 2018.
       3. As of August 7, 2018, Creditor has not received the Request for Production from the
          Debtor.




                                                    Jeffrey S. Fraser, Esq.
                                                    Albertelli Law
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                                                    Telephone: (813) 221-4743
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                                                    By: /s/ Jeffrey Fraser
                                                    Jeffrey Fraser
                                                    Florida Bar No.: 85894




ALAW FILE NO. 18-017793
               Case 18-15891-LMI        Doc 68     Filed 08/07/18     Page 2 of 2



                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic mail and/or by regular U.S. mail to the parties on the attached service list on this 7th
day of August, 2018.

SERVICE LIST
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
25 SE 2nd Avenue
Suite 248
Miami, FL 33131

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                       Jeffrey S. Fraser, Esq.
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                                                       By: /s/ Jeffrey Fraser
                                                       Jeffrey Fraser
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